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                    UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF CONNECTICUT
                            HARTFORD DIVISION
_____________________________________
IN RE:                                  :   CHAPTER 7

ROLLCAGE TECHNOLOGY, INC.,                           :       CASE NO.: 22-20743 (JJT)

                  Debtor.                            :       FEBRUARY 28, 2024
______________________________________

                 NOTICE OF MOTION FOR RULE 2004 EXAMINATION

       Pursuant to Fed. R. Bankr. P. 2004(c) and Fed. R. Bankr. P. 9016, Anthony S. Novak,

Chapter 7 Trustee for the Estate of Rollcage Technology, Inc., hereby provides notice that any

objections to the foregoing Motion for Rule 2004 Examination (the “Motion”) must be filed

within seven (7) days of the date of the Motion. In the absence of a timely filed objection, the

proposed order may enter without further notice and hearing.


                                             ANTHONY S. NOVAK, CHAPTER 7
                                             TRUSTEE FOR THE ESTATE OF
                                             ROLLCAGE TECHNOLOGY, INC.

                                      By:    /s/ Jeffrey Hellman
                                             Jeffrey Hellman, Esq.
                                             Law Offices of Jeffrey Hellman, LLC
                                             195 Church Street, 10th Floor
                                             New Haven, CT 06510
                                             Tel. 203-691-8762
                                             Email: jeff@jeffhellmanlaw.com
                                             Federal Bar No.: ct04102
